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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00015-APM
                                  )
STEWART RHODES, et. al.,          )
                                  )
                                  )
                 Defendants       )
                                  )



             DEFENDANT ROBERTO MINUTA’S UNOPPOSED
                 MOTION FOR EXTENSION OF TIME


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      NOW COMES Defendant Roberto Minuta by and through his

undersigned counsel of record, William L. Shipley, requesting this Honorable

Court to grant this motion to extend time for filing combined Rule 29 and 33

Motions.

      On January 23, 2023, Defendant Minuta was found guilty by a jury

of Count (1) Seditious Conspiracy, Count (2) Conspiracy to Obstruct an Official

Proceeding, Count (3) Obstruction of an Official Proceeding, and Count (4)

Conspiracy to Prevent Members of Congress from Discharging Their Duties.

See EFC No.450.

      On February 1, 2023, this Court issued an omnibus order regarding

post-trial filings. See EFC No. 467. In the order, this Court set the deadline for

filing Rule 29 and Rule 33 motions for February 24, 2023. See Id. at 1.

      On January 22, 2023, undersigned was retained and entered an

appearance for Defendant Michael Greene in United States v. Crowl, et al. 21-

cr-00028 APM (Oath Keepers group 3) that is currently before this Court.

      Due to the ongoing trial and other matters on undersigns calendar,

Defendant Minuta requests this Court to allow for three (3) day extension of

time setting the deadline for Monday, February 27, 2023.

Dated: February 21, 2023                    Respectfully submitted,

                                            /s/ William L. Shipley
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